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STATE OF ILLINOIS - SoIaiOIaTs
COUNTY OF COOK )

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

KAREN CANTONE, AS SPECIAL
ADMINISTRATOR OF THE ESTATE OF
MICHAEL CANTONE, DECEASED,

Plaintiff,

v. NO. 2018 L 011875
GABLER THERMOFORM GMBH & CO.
KG; LYLE INDUSTRIES, LLC; BROWN
MACHINE I, LLC,

Defendants,
COMPLAINT AT LAW

NOW COMES the Plaintiff, KAREN CANTONE, as Special Administrator of the Estate
of MICHAEL CANTONE, Deceased, by her attorneys, HORWITZ, HORWITZ AND
ASSOCIATES, LTD., and complaining of the Defendants, Gabler Thermoform GmbH & Co.

KG, Lyle Industries, LLC and Brown Machine I, LLC, alleges as follows:

COUNTI

Strict Products Liability Wrongful Death Claim
1. That on and prior to October 24, 2018, the Defendants, Gabler Thermofonn GmbH & Co.
KG, Lyle Industries, LLC and Brown Machine II, LLC, had been engaged or participated in
the business of designing, preparing, manufacturing, advertising, distributing, installing,
supplying and/or selling a certain product and/or its appurtenances, commonly known, based

on information and belief, as an M98 Thermoform Machine, and that prior to the said date,

EXHIBIT

 

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the defendants had in fact designed, prepared, manufactured, advertised, distributed, installed
supplied and/or sold the aforesaid product and/or its appurtenances.

That the three defendants acted in concert to perform the acts identified in allegation 1 above.

. The three defendants acted in partnership to perform each of the acts identified in allegation

] above.

. That on the aforesaid date, the aforesaid product and/or its appurtenances was in use at 1111

Winpak Way, Village of Sauk Village, County of Cook, and State of Illinois

. That at said time and place, Michael Cantone, deceased, upon information and belief, was

injured and killed in an incident involving the aforesaid product.

. That at said time and place, there was no abriormal use of the aforesaid product and/or its

appurtenances.

. That at said time there was no reasonable secondary cause of the injury and death.

. That at said time, the aforesaid product failed to perform as reasonably expected in light of

its nature and function.

. That at said time the aforesaid product and/or its appurtenances was in an unreasonably

dangerous condition with regard to its acknowledged, intended and foreseeable uses, and was
so at the time the aforesaid product and/or its appurtenances left the control of the
defendants, in one or more of the following ways, upon information and belief:

a. Product had propensity to criish a user or bystander;

b. Product failed to have adequate interlocks to prevent this death;

c. Product would function when a person was subject to being crushed;

d. Product didn’t have an adequate emergency stop;

e. User could be exposed to pinch points

 
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f. Product lacked adequate warnings to prevent the above a-e
g. Product lacked adequate guarding to prevent a-e;

10. That as a direct and proximate result of one or more of the aforesaid conditions of said
product and/or its appurtenance and controls, Plaintiff's Decedent was injured and then and
there sustained permanent injuries, causing death. As a result, the next-of kin of the
Decedent have suffered great losses both personal and pecuniary in nature, including sorrow,
grief, and Joss of love, affection, guidance, companionship, society and consortium of the
Plaintiffs Decedent as a result of the death, subjecting the defendants to liability pursuant to
740-ILCS 180/1 et seq. which is more commonly known as The Wrongful Death Act.

11. The next of Kin and corresponding relationship to decedent are as follows:

Karen Cantone — wife
Kyle Cantone — adult son
Chad Cantone — adult son
Ashley Walling — adult daughter
WHEREFORE, it is respectfully requested that judgment be entered in favor of the

Plaintiff, Karen Cantone, as Special Administrator of the Estate of Michael Cantone, Deceased,

on behalf of the next-of-kin, against the Defendants, in a dollar amount necessary to fully and

fairly compensate the next-of-kin for their losses under the terms of the Wrongful Death Act and
such additional amounts as the Court shal] deem proper, plus the costs of this action, the total of
which substantially exceed the minimum jurisdictional amount.

COUNT II
Negligence Products Liability Wrongful Death Claim

1. That on and prior to October 24, 2018, the Defendants, Gabler Thermoform GmbH & Co.

KG, Lyle Industries, LLC and Brown Machine II, LLC had been engaged or participated in

 
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the business of designing, preparing, manufacturing, advertising, distributing, installing,
supplying and/or selling a certain product and/or its appurtenances, commonly known, based
on information arid belief, as an automatic thermoforming machine, and that prior to the
said date, the defendants had in fact designed, prepared, manufactured, advertised,
distributed, installed supplied and/or sold the aforesaid product and/or its appurtenances.
That the three défendants acted in concert to perform the acts identified in allegation 1 above.
The three defendants acted in partnership to perform each of the acts identified in allegation
1 above.

That on the aforesaid date, the aforesaid product and/or its appurtenances was in use at 1111
Winpak Way, Village of Sauk Village,County of Cook, and State of Illinois

That at said time and place, Michael Cantone, deceased, upon information and belief, was
injured and killed in an incident involving the aforesaid product.

That at said time and place, there was no abnormal use of the aforesaid product and/or its
appurtenances,

That at said time and place, there was no reasonable secondary cause of the injury and death.
That at said time and place, the aforesaid product failed to perform as reasonably expected in
light of its nature and function.

That at said time and place, the aforesaid product and/or appurtenances was in an
unreasonably dangerous condition with regard to its acknowledged, intended, and foreseeable
uses, and was so at the time the aforesaid product and/or its appurtenances left the control of
the defendants, and defendant was negligent in one or more of the following ways, upon
information and belief:

a. Product had propensity to crush a user or bystander;

 
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b. Product failed to have adequate interlocks to prevent this death;

c. Product would function when a person was subject to being crushed;
d. Product didn’t have an adequate emergency stop;

e. User could be exposed to pinch points

f Product lacked adequate warnings to prevent the above a-e

g. Product lacked adequate guarding to prevent a-e;

10. That as a direct and proximate result of one or more of the aforesaid conditions of said
product and/or its appurtenance and controls, Plaintiff's Decedent was injured and then and
there sustained permanent injuries, causing death. As a result, the next-of kin of the
Decedent have suffered great losses both personal and pecuniary in nature, including sorrow,
grief, and loss of love, affection, guidance, companionship, society and consortium of the
Plaintiff's Decedent as a result of the death, subjecting the defendants to liability pursuant to
740 YLCS 180/1 et seq. which is more commonly known as The Wrongful Death Act.

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WHEREFORE, it is respectfully requested that judgment be entered in faver of the

Plaintiff, Kareri Cantone, as Special Administrator of the Estate of Michael Cantone, Deceased,

on behalf of the next-of-kin, against the Defendants, in a dollar amount necessary to fully ‘and

fairly compensate the next-of-kin for their losses under the terms of the Wrongful Death Act and

 
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such additional amounts as the Court shall deem proper, plus the costs of this action, the total of

which substantially exceed: the minimum jurisdictional anyount.

   

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Clifford WiHorwitz —be
Horwitz, Horwitz, and Assddjates, LTD.
25 E. Washington. Suite 900
Chicago, IL 60602
Office: (312) 372-8822
Email: clmail@horwitzlaw.com

  

 
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Plaintiff,

GABLER THERMOFORM GMBH & CO.
KG: LYLE INDUSTRIES, LLC: BROWN
MACHINE II. LLC,

Defendants.

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v. ) NO.
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SUPREME COURT RULE 222(b) AFFIDAVIT

1. The undersigned, Clifford W. Horwitz, does hereby state under oath and under penalty of

perjury:

Ww

My name is Clifford Horwitz.

I represent ibe Plaintiff in the above-captioned casc.

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4. Thave conducted an investigation into Us case.
5. The Plaintiff is seeking damages in excess of $30,000.00

6. FURTHER AFFIANT SAYETH NOT
\\ ve Ait) ) trues
Clifford Wlionvitz Re

HORWITZ, HORWITZ AND ASSOCIATES, LTD.
Altorneys at Law

25 E. Washington, Suite 900

Chicago, Illinois 60602

(312) 372-8822, fax (312) 372-1673

 
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Plaintiff,
Vv. NO,
GABLER THERMOFORM GMBH & CO.
KG; LYLE INDUSTRIES, LLC; BROWN
MACHINE I, LLC,

Defendants.

JURY DEMAND

The undersigned demands a jury trial.

A As ah \N) thay

Chifforll’ WV. Horwitd

Horwitz, Horwitz, and Asso@mtes, LTD.
25 E. Washington, Suite 900

Chicago, IL 60602

Office: (312) 372-8822

Email: clmail@horwitzlaw.coni

 
